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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT
for the
Southern District of Texas

Houston Division

 

 

 

RANDALL E. ROLLINS ) Case No. 4:19-cv-1514
) (to be filled in by the Clerk’s Office)
)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint. 7,
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-y- )
) United States Courts
SEE ATTACHED ) Southern District of Texas
) FILED
) JUL 15 2019
Defendant(s) )
(Write the full name of each defendant who is being sued. If the .
names of all the defendants cannot fit in the space above, please ) David J. Bradley, Clerk of Court
write “see attached” in the space and attach an additional page )

with the full list of names.)

THIRD AMENDED
COMPLAINT FOR A CIVIL CASE

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

needed.
Name Randall E. Rollins
Street Address 4415 Valparaiso Circle
City and County Pasadena, Harris County
State and Zip Code Texas 77504
Telephone Number (713) 817-7088
E-mail Address rerollins2000@yahoo.com

 

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if gown)

State of Texas

Capitol Building, 1100 Congress, Room 1E.8
Austin, Travis
Texas 78701
512-463-5770

sosdirect@sos.texas.gov

State Commission on Judicial Conduct
300 W. 15th St., #415

Austin, Travis

Texas 78701

§12-463-5533

Greenberg Traurig, LLP.
Law firm
1000 Louisiana St., Suite 1700

Houston, Harris

Texas 77002-5001
713-374-3509

jacobsenk@gtlaw.com

Kristen Jacobsen

Attorney
1000 Louisiana St., Suite 1700

Houston, Harris
Texas 77002-5001
713-374-3509

jacobsenk@gtiaw.com

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Defendant No. 5
Name
Job or Title (ifknown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if knawn)

Defendant No. %
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. q
Name
Job or Title (ifinown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

Defendant No. 6
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Shira Yoshor

Attorney

1000 Louisiana St., Suite 1700
Houston, Harris

Texas 77002-5001
713-374-3509
yoshorS@gtlaw.com

Lincoln Goodwin

Justice Court Judge

6831 Cypresswood Dr., Suite 4
Spring, Harris

Texas 77379-7700

713-274-6550
MyJP41@JP.HCTX.net >

Harris County

201 Caroline St., 3rd Floor
Houston, Harris

Texas 77002
713-755-5000

ecinfo@hecountyclerk.com

Tommy Ramsey

Assistant Harris County Attorney
1019 Congress, 15th Floor
Houston, Harris

Texas 77002

713-755-1553
Tommy.Ramsey@cao.hctx.net

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Defendant No.4

 

 

 

 

 

Name TD Ameritrade, Inc.

Job or Title (if known) “represented by Defendants Greenberg Traurig, LLP, et al.
Street Address 1000 Louisiana St., Suite 1700

City and County Houston, Harris County

State and Zip Code Texas 77002-5001

Telephone Number (713) 374-3509

 

E-mail Address (if known) jacobsenk@gtlaw.com

 

Defendant No. 10

 

 

 

 

 

 

Name DOES 1-99

Job or Title (ifknown) unknown at this time
Street Address unknown at this time
City and County unknown at this time
State and Zip Code unknown at this time
Telephone Number unknown at this time
E-mail Address (ifknown) unknown at this time

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check ail that apply)

[V |Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

18 U.S. Code sec's 1961, 1341, 1343, 1503

Due Process clauses of the 5th and 14th Amendments to the United States Constitution

Equal Protection clause of the 14th Amendment to the United States Constitution

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual

The plaintiff, (name) Randall E. Rollins , is a citizen of the

 

State of (name) Texas

 

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated

 

under the laws of the State of (name)

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

 

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (ame) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) 1D Ameritrade, Inc. , is incorporated under
the laws of the State of (name) —_ Delaware , and has its

 

principal place of business in the State of (name) Nebraska

 

Or is incorporated under the laws of (foreign nation) >

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

SEE ATTACHED

 

I. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

SEE ATTACHED

 

Iv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

lI agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. J understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

07/13/2019

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

RE lr

Randall E. Rollins

 

 

 

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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*JURY TRIAL DEMANDED
ATTACHED

Full name of each defendant who is being sued, and declaration of citizenship:

STATE OF TEXAS,

STATE COMMISSION ON JUDICIAL CONDUCT,

GREENBERG TRAURIG, LLP, (*is a law firm parnership)

KRISTEN JACOBSEN,---is a citizen of the State of Texas

SHIRA YOSHOR,—is a citizen of the State of Texas

LINCOLN GOODWIN, (*sued in his individual capacity)}—is a citizen of the State of Texas

HARRIS COUNTY,

TOMMY RAMSEY, (*sued in his individual capacity)--is a citizen of the State of Texas

TD AMERITRDE, INC. (*is a Nebraska corporation with articles thereof filed in Delaware)
10. DOES 1-99 (names, capacities and citizenship status unknown at this time)

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Ill. Statement of Claim Against:

Defendants State of Texas, State Commission on Judicial Conduct, and Harris County for:
Violation of 18 U.S.C. Code, Sec. 1961, 1341, 1343, 1503 and Due Process Clauses
of the Fifth and Fourteenth Amendments and the Equal Protection Clause
of the Fourteenth Amendment to the United States Constitution

1. Defendant State of Texas's (“Texas”) Rules of Civil Procedure, Rule 500.9 (formerly Rule 507)
violates the due process clauses of the Fifth and Fourteenth Amendments and/or violates the equal
protection clause of the Fourteenth Amendment to the United States Constitution by diluting the right
of discovery to a privilege granted or denied by a Justice Court judge when such is not required of
superior Texas courts. The fact that Plaintiff had to beg for his constitutional rights to discovery on
11/12/2018 in Justice Court, Precinct 8-2 when other litigants in higher Texas courts do not have to beg
for discovery caused intentional infliction of emotional distress, mental pain, anguish, more litigation
costs and an unnecessary obstacle in Plaintiff seeking a redress of grievances in the Justice Court.
Discovery is a due process right, not a discretionary privilege to be granted or denied by a Justice Court
judge. This instant case will essentially prove that Defendant Texas essentially prohibits en pro se
litigants from having due process and equal protection under the law and their constitutional rights to a
fair trial and/or hearing held in a fair and meaningful manner, and that Texas judges are, almost without
exception, prejudiced against en pro se litigants and biased toward other judges and attorneys,
especially those attorneys representing corporations.

2. Defendant Harris County's Local Rule 1.7 for Justice Courts also violates the due process clauses
of the Fifth and Fourteenth Amendments and/or violates the equal protection clause of the Fourteenth
Amendment to the United States Constitution by subjecting the right to preserve evidence at trial or
hearing to be granted or denied by a Justice Court judge when such is not required of other superior
Texas courts. Plaintiff requested the right to record proceedings in the Justice Court, Precinct 8-2,
cause No. 188200460196 but was denied that right on 12/12/2018 by a judge who is not a Defendant at
present.

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3. Plaintiff believes that Local Rule 1.7 is unconstitutional, that Plaintiff had a protected right to either
record proceedings at Plaintiff's own expense, or to reimburse the aforementioned Justice Court for
such recording. As a result of not being able to exercise the constitutional right to due process and
equal protection under the law to preserve evidence, Plaintiff suffered intentional infliction of
emotional distress, mental pain and anguish, and more litigation costs than otherwise would have been
necessary if Defendants Harris County and Texas considered such recordings a right like other
litigants are afforded in higher Texas courts.

4. Defendant Texas allows, condones, promotes, and even encourages the Defendant State
Commission on Judicial Conduct (“Commission”) to not sanction judges who have no discretion to
act, who have no personal jurisdiction over litigants such as in Plaintiff's situation. Plaintiff filed an
Affidavit of Prejudice against Defendant Judge Lincoln Goodwin (“Goodwin”) on 01/23/2019 who
continued to act with discretionary authority even though all his orders were null and void according to
the Supreme Court of the United States’ stare decisis on the subject of constitutional disqualification by
affidavit of prejudice. The current system followed by the enterprise Defendant Texas and its “sub-
enterprise,” the Defendant Commission, is unconstitutional in that it not only does not sanction rogue
judges who act without personal jurisdiction over parties, but the current system shields and protects
these judges.

5. Defendant Texas' neglect to correct judges who have had affidavits of prejudice filed against them,
shows Texas' contempt for the United States Supreme Court and the United States Constitution's due
-process clauses and the equal protection clause. Whereas Federal law encodes such protection under
28 U.S. Code, section 144, Texas wrongly disregards the rights of litigants to disqualify judges whom
they believe to be prejudiced against themselves or biased toward the opposing parties. The failure of
Defendants Texas and its Commission to publicly or privately sanction prejudiced judges, violates
due process and equal protection under the United States Constitution.

6. Plaintiff complained to the Commission regarding Defendant Goodwin, but it falsely wrote that it
could not act when a judge had discretion, which is not the case here. Defendant Goodwin did not
have personal jurisdiction over Plaintiff once Plaintiff filed his timely, sufficient and unchallenged
affidavit of prejudice, but only had ministerial jurisdiction to refer said affidavit to another judge.
Defendant Texas must be federally enjoined from allowing judges challenged by such affidavits to
continue to act with discretion on pleadings such as on motions for summary judgment or other
dispositive motions. Defendants Texas and Harris County allowing Defendant Goodwin to
continue to act caused Plaintiff intentional infliction of emotional distress, mental pain and anguish,
unnecessary delay in seeking redress, and additional litigation costs.

7. Metaphorically, Defendant Texas is the main enterprise “spider web” under the R.I.C.O. Act
allowing its sub-enterprises Defendants Harris County and State Commission on Judicial Conduct
to violate the constitutional rights of especially en pro se “flies” who are regularly denied discovery and
recording of court proceedings which can be fatal to their quest for redress in a fair and meaningful
manner. Defendant Texas' judicial “swamp” desperately needs draining by the federal courts so that
justice can be equally protected and preserved for all litigants---not for just corporations defended by
large law firms.

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Defendants Greenberg Traurig, LLP, Kristen Jacobsen, Shira Yoshor, Lincoln Goodwin,
Harris County, and Tommy Ramsey are also in Violation of
18 U.S.C. Code, Sec. 1961, 1341, 1343, 1503
(The R.LC.O. Act, ete.)

8. Something is rotten in Denmark when Defendant Goodwin allowed both Defendant Kristen
Jacobsen (“Jacobsen”) and then-unidentified Defendant Shira Yoshor (“Yoshor”) to speak at bench
with himself on 01/22/2019 when only one of these attorneys should have been speaking; specifically,
Defendant Jacobsen, the attorney of record for her client, TD Ameritrade, Inc. Defendant Goodwin
did not even care or bother to ask who was this other person standing at the bench beside Defendant
Jacobsen. The other person was Defendant Yoshor who did not identify herself and who had not filed
an appearance with the Court. Plaintiff had to make inquiries later as to her identity after returning
home from the kangaroo hearing.

9. The “spider web” in this second R.I.C.O. enterprise is Defendant Goodwin who ignored Plaintiff's
timely Affidavit of Prejudice filed against Defendant Goodwin immediately after the sham hearing of
01/22/2019. Plaintiff filed a mandamus action against Defendant Goodwin in the Harris County
Courts at Law No. 1 and No. 2 to enjoin him from further action. However, Plaintiff has a good-faith
belief that before the hearing on Plaintiff's mandamus request was held in the Harris County Courts
Nos. 1 and 2: Defendant Goodwin, someone in the Defendant Harris County Attorney's Office, and
someone in Defendant Greenberg Traurig, LLP's (“GT”) law firm, communicated directly or
indirectly with each other and conspired against Plaintiff.

10. Mysteriously, on 03/13/2019 at the first hearing in courtroom No. 1, the court reporter's record will
prove that Defendant Tommy Ramsey, an Assistant Harris County Attorney, did little or nothing at all
to defend Defendant Goodwin, but Defendant Jacobsen, who was not Defendant Goodwin's
attorney, waxed eloquent for Defendant Goodwin----a blatant conflict of interest since she was also
appearing before Defendant Goodwin representing her client TD Ameritrade, Inc. (which Plaintiff was
suing).

11. Also, on 03/18/2019 at the second hearing in courtroom No. 2, Defendant Tommy Ramsey
(“Ramsey”) did not even bother to show up to defend Defendant Goodwin----but there was
Defendant Jacobsen, “bright-eyed and bushy tailed” ready and willing to defend her favorite judge
who was “in her pocket.” The actions of Defendants Goodwin, Jacobsen, Yoshor, GT, Harris
County, and Tommy Ramsey are evidence of a R.I.C.O. Act enterprise with mail and wire fraud,
collusion, malice, bad faith, abuse of process, and aiding and abetting thrown in for good measure. All
of the aforementioned acts were accomplished by these Defendants by using the United States mail and
telephone wires to transmit fraudulent and illegal information and to encourage and promote a blatant
obstruction of justice and denial of due process to Plaintiff.

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Additional Cause(s) of Action against Defendants Greenberg Traurig, LLP, Kristen Jacobsen,
Shira Yoshor (“GT”) and Defendant TD Ameritrade, Inc (“TD Ameritrade”):

I.
FRAUD, COLLUSION, MALICE OR BAD FAITH

Defendants GT, acting individually and/or in-concert, intentionally and falsely certified in at
least four certificates of service filed in the Harris County Justice Court, Precinct Eight, Place Two,
cause No. 188200460196, that their four pleadings were mailed on a certain date, but were not mailed
on the date certified as follows:

1. Defendants GT certified their answer was mailed on 11-5-2018, but was not mailed until 11-6-
2018:

2. Defendants GT certified their motion to dismiss was mailed on 11-27-2018, but was not mailed
until 11-29-2018.

3. Defendants GT certified their response to Plaintiff's motion to strike was mailed on 12-10-2018,
but = was not mailed until 12-11-2018.

4. Defendants GT certified their amended motion to dismiss was mailed on 1-4-2019, but was not

mailed until 1-5-2019.

Defendants GT's fraud and delay in service: was in violation of the Texas Rules of Civil Procedure
and due process, shortened the time within which Plaintiff could act, caused intentional infliction of
emotional distress, and interfered with Plaintiff's well being. Those who were involved in the fraud
perpetrated against Plaintiff and the Court, to wit: who knew: what, when, where and why will be more
clear after sufficient discovery since all Defendants in this instant case are associated with each other
and stand to benefit financially from each others' actions.

Il.
FRAUD AND MALICIOUS DEFENSE

Defendants GT and TD Ameritrade, acting individually and/or in-concert, intentionally
created false evidence and made false statements in their pleadings advancing the false evidence and
utilized the United States mails to deliver their fraudulent documents. Specifically, Defendants GT
and TD Ameritrade falsified an exhibit used in their motion to dismiss in item #2 above purportedly
to show that this motion was mailed on 11-27-2018, but was not actually mailed until 11-29-2018.
Defendants GT and TD Ameritrade falsified a United States Postal Service Receipt for Certified

Mail which showed that the total postage and fees was $6.67, but the actual postage amount when
Plaintiff received the envelope was $7.62. Plaintiff believes that Defendants GT and TD Ameritrade
violated federal postal regulations in falsifying a United States Postal Service receipt. Defendants GT
and TD Ameritrade committed this fraud against Plaintiff and the presiding court to try to conceal the
fact that they did not mail item #2 above until 11-29-2018 when they certified that they had mailed
their motion to dismiss on 11-27-2018. Defendants GT and TD Ameritrade created false evidence
and submitted false pleadings advancing the evidence. Defendants GT and TD Ameritrade's actions
were used to harass, annoy or injure Plaintiff, or delay or increase the cost of litigation incurred by
Plaintiff. Defendants GT and TD Ameritrade, by these and other violations of the R.J.C.O. Act,
caused intentional infliction of emotional distress to Plaintiff then and now, as well as unnecessary
legal expenses in seeking judicial redress of grievances.

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Ii.
ABUSE OF PROCESS

In furtherance of their representation of Defendant TD Ameritrade, Inc. and Defendants GT
intentionally used fraud and collusion in a malicious or tortuous act for an illegal purpose of depriving
Plaintiff of due process and equal protection under the law and to keep Plaintiff from have a fair trial on
the merits in a fair and meaningful manner. Clearly, Defendants GT knowingly misused the legal
system to further both their pecuniary interests and those of their client, Defendant TD Ameritrade.
Instead of having a relatively quick determination by the trier of fact in the Justice Court beginning in
October, 2018, Defendant TD Ameritrade “lawyer-ed-up” and filed dilatory pleadings to circumvent
Plaintiff's pursuit of redress as guaranteed by the due process clauses of the Fifth and Fourteenth
Amendments and the equal protection clause of the Fourteenth Amendment to the United States
Constitution.

IV.
CIVIL AIDING AND ABETTING AND CIVIL CONSPIRACY
(In-Concert Liability Claims)

Defendants GT knowingly aided and abetted Defendant TD Ameritrade and/or vice versa in
committing the tort of fraud against Plaintiff. Defendants GT, as lawyers within a law firm or
partnership, do not provide legal services in a vacuum because others, such as Plaintiff, might be
defrauded or injured by Defendant TD Ameritrade's use of Defendants GT's legal services. In this
instant case, Defendants GT's services were not honest and their conduct violated ethical rules of the
Texas State Bar, Texas Rules of Civil Procedure, and Texas Government Code by their fraud,
conspiracy to defraud, and serious and intentional ethical breaches. Defendants GT's unprofessional
conduct of fraud had in its illegal purpose to burden Plaintiff with unnecessary and expensive court
filings, travel expenses, appearances---all for the illegal purpose of keeping Plaintiff from seeking
redress in the Justice Courts. Simply put, Defendants GT and TD Ameritrade wanted to overwhelm
Plaintiff with their law firm's or corporation's capabilities so that Plaintiff could not have his “day in
court.” Moreover, Defendant TD Ameritrade knew, or should have known, that Defendants GT
were violating federal law including, but not limited to, the R.I.C.O. Act because of Defendants GT's
sending fraudulent material via the United States Postal Service and also by communicating and
promoting the delivery of fraudulent information using telephone, facsimile, and/or other electronic
devices. The degree, complexity and timing of the aforementioned link between the wrongful actions
of both Defendant TD Ameritrade and Defendants GT will be more fully understood and clarified
after discovery is completed.

V.
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AND MENTAL ANGUISH

Defendant TD Ameritrade's and Defendant GT's fraud, collusion, malice or bad faith,
malicious defense, abuse of process, aiding and abetting each other to conceal and deceive both the
Court and Plaintiff with the purpose of enriching the principal-agent enterprise and themselves,
individually, and their misuse and abuse of the legal system has caused Plaintiff the intentional
infliction of emotional distress and mental anguish and the continued loss of finances due to increased
litigation expenses which is still occurring since October of 2018.

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VI.
STATE AND FEDERAL CIVIL VIOLATIONS OF THE RICO ACT:
(18 U.S. Code, section 1961)

Defendants GT and Defendant TD Ameritrade engaged in a pattern of racketeering activity
connected to conduct or control of an enterprise, specifically composed of the partnership, Greenberg
Trauring, LLP, and for its, and their own personal, enrichment, and the corporate enrichment of
Defendant TD Ameritrade. Acting in concert, Defendants TD Ameritrade and GT committed at
least two acts of racketeering activity: mail fraud under section 1341, wire fraud under section 1343,
obstruction of justice under section 1503, as well as fraud connected with a non-bankruptcy case under
title 11. Defendants GT under the direction and control of Defendant TD Ameritrade, used both the
United States Postal Service and electronic transmissions over the wires, to misrepresent the truth of
the date of service of at least four pleadings to both the Court and to Plaintiff, and also falsified and
fabricated postal receipts and transmitted such using the United States Postal Service and/or electronic
transmissions over the wires to further enrich their enterprise.

Furthermore, Defendants GT and TD Ameritrade, individually, collectively and in-concert with their
enterprise, suborned false affidavits from their respective employees Gail Jamrok (“Jamrok”) and
Michael Ferguson. In paralegal Jamrok's affidavit, she stated that an employee of WALZ (a mailing
service) prepares and sends Defendants GT's certified mail, but contradicts herself in her affidavit in
stating that “A Greenberg Traurig employee” prepares and sends a piece of certified mail.

Furthermore, Jamrok swore under oath in her affidavit that she had “personal knowledge” of all the
matters stated in her affidavit and that they are true and correct when at least six or more people were
involved in mailing Defendants GT's motion to dismiss, at least some of which were outside the
purview of paralegal Jamrok.

Defendant GT's employee, Michael Ferguson, fraudulently stated in his sworn affidavit that he could
not link Plaintiff's brokerage accounts at his desk “due to TD Ameritrade internal policy” but curiously
that is exactly what his fellow associate Cohen Reagan did after Ferguson used profanity and
threatened Plaintiff. Reagan did link Plaintiff's brokerage accounts at his desk. Ferguson also stated
that all he said was “I messed up” which is not true. He outlandishly directed the “F” word toward
Plaintiff and threatened to call the police. A video of the events of that October 12, 2018 day will prove
what transpired but Defendant TD Ameritrade had that video erased according to the Webster Police
Department. Also Ferguson falsely stated in his affidavit that Plaintiff was “hovering over my desk”
and that Plaintiff “was attempting to rummage over the surface of my desk.” Plaintiff was looking for a
business card with Ferguson's-name on it since he did not tell Plaintiff what his name was. There were
no business cards on Ferguson's desk and the video would have proven that if Defendant TD
Ameritrade did not have it erased. Contrary to his statement in his affidavit, Ferguson also left the
scene and did not remain at his desk which the video would prove if it still existed.

The aforementioned was all a scheme to obstruct justice to keep Plaintiff from having his day in court
wherein Plaintiff could present evidence to the trier of fact. At this present time, Plaintiff does not
know the full and complete extent of involvement of Defendants GT's client, Defendant TD
Ameritrade, in Defendants GT's illegal enterprise—their communications over the U.S. mails and
wires to circumvent justice for Plaintiff will become more apparent as discovery will prove the who-
what-when-where-why of their R.I.C.O. enterprise to harm Plaintiff and enrich themselves in the
process.

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IV. Relief

At all times material to this cause of action, specifically, from 10/12/2018 to the date this instant
complaint was filed, and probably continuing afterward, certain Defendants acting in their individual
and/or official capacities: have violated the R.I.C.O. Act, used mail and wire fraud, engaged in judge
and witness tampering, falsified evidence, participated in ex parte communications, denied Plaintiff his
constitutional rights to the preservation of evidence at hearings, abused the judicial process, colluded

with each other, acted with malice, bad faith, used litigation maliciously, collaborated in civil and
criminal aiding and abetting and conspiracy, and deliberately caused the intentional infliction of
emotional distress against Plaintiff---all to keep Plaintiff from having his original day in.court at the
first opportunity in October, 2018 so that Plaintiff could present evidence and have said evidence
decided fairly by a trier of fact. It has been almost eight months and thousands of dollars later and
Plaintiff has still not had his full and complete due process and equal protection rights guaranteed by
the United States Constitution.

Plaintiff respectfully requests the Court to order total damages in the amount of
$1,00,000,000.00 divided jointly and severally against all Defendants for pecuniary, non-pecuniary
and exemplary damages to be distributed among the various Defendants as follows:

1. Judgment against the Defendant State of Texas: $900,000,000.00 to be set up in a remediation
trust administered by the United States Department of Justice or its designee in several FDIC-insured
interest-bearing accounts for Texas en pro se litigants who can prove by claims, supported by evidence,
that they have been denied due process and equal protection under federal or state law by Texas state
judges, regardless if they were in civil or criminal courts on the condition that there is no statute of
limitations for such claims going backward or forward until all the accounts are eventually depleted.

2. Judgment against Defendant Harris County: $80,000,000.00 to be set up in a remediation trust
administered by the United States Department of Justice or its designee in several FDIC-insured
interest-bearing accounts for Harris County en pro se litigants who can prove by claims, supported by
evidence, that they have been denied due process and equal protection under federal or state law by
Texas state judges, regardless if they were in civil or criminal cases in Harris County on the condition
that there is no statute of limitations for such claims going backward or forward in time until all the
accounts are eventually depleted.

3. Judgment against Defendant State Commission on Judicial Conduct: $10,000,000.00 to be set
up in a remediation trust administered by the United States Department of Justice or its designee in
several FDIC-insured interest-bearing accounts for all Texas en pro se litigants who can prove by
claims, supported by evidence, that they have been denied due process and equal protection under
federal or state law by Texas state judges, regardless if they were in civil or criminal cases in Texas if
said judges had discretion or not until all the accounts are eventually depleted.

4. Judgment against Defendant Greenberg Traurig, LLP: $9,000,000.00
5. Judgment against Defendant Kristen Jacobsen: $230,000.00

6. Judgment against Defendant Shira Yoshor: $250,000.00

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7. Judgment against Defendant Tommy Ramsey: $150,000.00
8. Judgment against Defendant Lincoln Goodwin: $370,000.00
9, Judgment against Defendant TD Ameritrade, Inc.: $100,000,000.00

AND/OR such other and further relief as the Court deem appropriate.

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